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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

   HE DEPU, et al.


                              Plaintiffs,
   v.                                                 Case No. 1:17-cv-00635-RDM

   OATH HOLDINGS, INC., et al.                        Judge Randolph D. Moss


                           Defendants.

             THIRD JOINT STATUS REPORT CONCERNING MEDIATION

        Pursuant to the Court’s May 31, 2023 Minute Order, Plaintiffs and Defendants jointly file

this third status report to advise the Court of certain matters related to mediation.

   1. The Parties mediated this dispute before Retired U.S. District Judge Walter Kelley on

        May 9, 2023 in Washington DC.

   2. Defendants continue to make efforts to resolve this matter out-of-court.

   3. Plaintiffs have made multiple efforts to settle this matter over several years, and though

        Plaintiffs’ perspective is that the current “round” of mediation is over, Plaintiffs remain

        open to settlement.

  Dated: June 16, 2023                         Respectfully submitted,

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